             Case 23-17005-CMG                    Doc 1     Filed 08/14/23 Entered 08/14/23 17:51:50                             Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Miku, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  10 Woodbridge Center Dr.
                                  Ste. 525
                                  Woodbridge, NJ 07095
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Middlesex                                                     Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    Miku, Inc.                                                                                Case number (if known)
          Name



7.   Describe debtor's business       A. Check one:
                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                       Railroad (as defined in 11 U.S.C. § 101(44))
                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                       None of the above
                                      B. Check all that apply
                                       Tax-exempt entity (as described in 26 U.S.C. §501)
                                       Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                       Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                               3343

8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
     debtor filing?
                                       Chapter 7
                                       Chapter 9
                                       Chapter 11. Check all that apply:
                                                            Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $3,024,725 (amount subject to adjustment on 04/01/25 and every 3 years after that).
                                                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return, or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D) and it chooses to
                                                                 proceed under Subchapter V of Chapter 11.
                                                            A plan is being filed with this petition.
                                                            Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                       Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                       No.
     the debtor within the last 8      Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                When                                 Case number
                                                District                                When                                 Case number

10. Are any bankruptcy cases
    pending or being filed by a
                                       No
    business partner or an             Yes.
    affiliate of the debtor?




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Debtor    Miku, Inc.                                                                                    Case number (if known)
          Name

     List all cases. If more than 1,
     attach a separate list                        Debtor                                                                    Relationship
                                                   District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                    livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                           5001-10,000                               50,001-100,000
                                        50-99
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




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Debtor    Miku, Inc.                                                                               Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 14, 2023
                                                  MM / DD / YYYY


                             X /s/ Johann Fernando                                                        Johann Fernando
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CEO




18. Signature of attorney    X /s/ Morris S. Bauer, Esq.                                                   Date August 14, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Morris S. Bauer, Esq.
                                 Printed name

                                 Duane Morris LLP
                                 Firm name

                                 One Riverfront Plaza
                                 1037 Raymond Blvd., Suite 1800
                                 Newark, NJ 07102
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     973-424-2000                  Email address      msbauer@duanemorris.com

                                 039711990 NJ
                                 Bar number and State




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                             RESOLUTION OF BOARD OF DIRECTORS OF MIKU, INC.

                    I, Johann Fernando, the CEO of Miku, Inc. (the "Company"), a corporation of the State
             of Delaware, hereby certify that at a Special Meeting of the Board of Directors (the “Board”)
             of said corporation being held on the 10th day of August, 2023 in accordance with the
             organizational documents of the Company and applicable state laws, the Board adopts the
             following resolutions (these “Resolutions”) with respect to the Company:

                                                         Chapter 11 Filing

                     WHEREAS, the Board, along with their legal and financial advisors, has considered the
             liquidity, financial, and operational condition, including capital resources, and sources and uses of
             cash, of the Company and its current lending arrangements in respect to meeting such Company’s
             short-term liquidity needs;

                     WHEREAS, the Board has reviewed the historical performance and results of the
             Company, the market in which the Company operates, its current, short-term, and long-term future
             liquidity needs, its business prospects, and its current and long-term liabilities;

                    WHEREAS, the Board has considered and evaluated other lending arrangements and
             sources of liquidity in meeting the Company’s short-term liquidity needs;

                     WHEREAS, the Board has reviewed the materials presented by the Company’s financial,
             operative, legal, and other advisors and has engaged in numerous and extensive discussions
             (including, without limitation, with its management and such advisors) regarding, and have had
             the opportunity to fully consider, the Company’s financial condition, including its capital resources
             and uses of cash, liabilities, and liquidity position, the strategic alternatives available to it, the
             impact of the foregoing on the Company’s business and operations, and the advisability of entering
             into restructuring arrangements;

                    WHEREAS, the Board has had the opportunity to consult with the financial and legal
             advisors of the Company and fully consider each of the strategic alternatives available to the
             Company;

                     WHEREAS, the Board has determined that taking the actions set forth below are advisable
             and in the best interests of the Company to preserve and protect its ordinary course of business and
             therefore, the Board Entity recommends the adoption of the following resolutions:

                     NOW, THEREFORE, BE IT RESOLVED that in the business judgment of the Board, it is
             desirable and in the best interests of the Company and its respective creditors and other parties-in-
             interest that the Company shall be, and hereby is, authorized to file, or cause to be filed, a voluntary
             petition for relief (the “Chapter 11 Case”) under the provisions of chapter 11 of title 11 of the
             United States Code (the “Bankruptcy Code”) commencing the Chapter 11 Case in the United
             States Bankruptcy Court for the District of New Jersey (the “Bankruptcy Court”), including
             exercising the election to proceed under Subchapter V, if deemed appropriate under the
             circumstances;




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                     BE IT FURTHER RESOLVED that Johann Fernando on behalf of the Company (the
             “Authorized Person”) be, and hereby is, authorized, empowered, and directed to execute and file,
             or cause to be filed, with the Bankruptcy Court, the petition, schedules, lists, motions, applications,
             pleadings, and any other necessary papers or documents, including any amendments thereto, and
             to take any and all action and perform any and all further deeds that are deemed necessary or proper
             to obtain chapter 11 bankruptcy relief, including but not limited to motions to obtain debtor in
             possession financing, the use of cash collateral and provide adequate protection therefor, for the
             sale of substantially all of the assets, or in connection with the Chapter 11 Case, with a view to the
             successful prosecution of such Chapter 11 Case, including the negotiation of such additional
             agreements, modifications, supplements, reports, documents, instruments, applications, notes, or
             certificates that may be required and/or the payment of all fees, consent payments, taxes, and other
             expenses as any such Authorized Person, in his/her sole discretion, may approve or deem
             necessary, appropriate, or desirable in order to carry out the intent and accomplish the purposes of
             the resolutions herein and the transactions contemplated thereby;

                     BE IT FURTHER RESOLVED that all acts and deeds previously performed by any of the
             officers of the Companies prior to the adoption of the foregoing recitals and resolutions that are
             within the authority conferred by the foregoing recitals and resolutions are hereby ratified,
             confirmed, and approved in all respects as the authorized acts and deeds of the Companies.

                                                    Retention of Professionals

                  WHEREAS, the Board has considered the retention of financial and legal advisors by the
             Company;

                      NOW, THEREFORE, BE IT RESOLVED that the Authorized Person of the Company be,
             and hereby is, authorized, empowered and directed to employ the law firm of (i) Duane Morris
             LLP (“DM”) as general bankruptcy co-counsel to represent and assist the Company in carrying
             out its duties under the Bankruptcy Code, and to take any and all actions to advance the Company’s
             rights and obligations, including filing any motions, objections, replies, applications, or pleadings;
             and in connection therewith, the Authorized Person, with power of delegation, is hereby
             authorized, empowered and directed to execute appropriate retention agreements, pay appropriate
             retainers and fees, and to cause to be filed an appropriate application for authority to retain the
             services of DM;

                     BE IT FURTHER RESOLVED, that the Authorized Person of the Company be, and hereby
             is, authorized, empowered and directed to re-engage Persient Investment Banking and Independent
             Investment Bankers, Corp. (“Persient”) to continue to seek prospective purchasers of the Company
             or the Company’s assets; and in connection therewith, the Authorized Person, with power of
             delegation, is hereby authorized, empowered, and directed to execute appropriate retention
             agreements, pay appropriate retainers and fees, and to cause to be filed an appropriate application
             for authority to retain the services of Persient. In the event that Persient decides not to proceed
             with the engagement, the Authorized Person may proceed to engage an alternative person for such
             purpose;

                     BE IT FURTHER RESOLVED, that the Authorized Person of the Company be, and hereby
             is, authorized, empowered, and directed to employ any other professionals to assist the Company


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             in carrying out its duties under the Bankruptcy Code; and in connection therewith, the Authorized
             Person, with power of delegation, is hereby authorized, empowered and directed to execute
             appropriate retention agreements, pay appropriate retainers and fees, and to cause to be filed an
             appropriate application for authority to retain the services of any other professionals as necessary,
             proper or convenient; and

                     BE IT FURTHER RESOLVED, that the Authorized Person of the Company be, and hereby
             is, with the power of delegation, authorized, empowered, and directed to execute and file all
             petitions, schedules, motions, lists, applications, pleadings, and other papers, and, in connection
             therewith, to employ and retain all assistance by legal counsel, accountants, financial advisors, and
             other professionals and to take and perform any and all further acts and deeds that the Authorized
             Person deems necessary, proper, or desirable in connection with the Company’s Chapter 11 Case,
             with a view to the successful prosecution of such case.

                         Debtor-in-Possession Financing, Cash Collateral and Adequate Protection

                     WHEREAS, to facilitate the Company’s ongoing operations, the Board has determined
             that the Company will obtain benefits from the use of cash collateral, as that term is defined in
             section 363(a) of the Bankruptcy Code (the “Cash Collateral”), some of which may be security for
             certain prepetition secured lenders (collectively, the “Lenders”) and to obtain additional post-
             petition financing from Lenders (the “DIP Financing”) by entering into Superpriority and Secured
             DIP Financing Agreements (the “DIP Financing Agreement”) therewith, which DIP Financing
             Agreement includes milestones relating to the sale of substantially all of the Company’s assets to
             Lenders or such higher or better offer; and WHEREAS, in order to use and obtain the benefits of
             the Cash Collateral and the DIP Financing in accordance with section 363 and 364 of the
             Bankruptcy Code, it is contemplated that the Company will provide certain liens, claims, and other
             adequate protection to the Lenders, as documented in proposed interim and final orders
             (collectively, the “DIP Financing Orders”) to be submitted for approval to the Bankruptcy Court;

                     NOW, THEREFORE, BE IT RESOLVED, that the Authorized Person of the Company be,
             and hereby is, authorized, empowered, and directed to (i) grant security interests and liens in any
             real, personal, or other property belonging to or under the control of each Company as security for
             its use of Cash Collateral and to obtain DIP Financing by execution of the DIP Financing
             Agreement; and (ii) execute and deliver any and all security agreements, pledges, mortgages, deeds
             of trust, and other security instruments to effectuate the grant of such security interests and liens
             related to such Company’s use of Cash Collateral and obtaining of DIP Financing;

                      BE IT FURTHER RESOLVED, that the Authorized Person of the Company be, and hereby
             is, authorized, empowered, and directed to file, or cause to be filed, any Uniform Commercial
             Code (the “UCC”) financing statements, any other equivalent filings, any intellectual property
             filings and recordation, and any necessary assignments for security or other documents in the name
             of the Company that may be necessary or appropriate to perfect any lien or security interest granted
             under the DIP Financing Orders;

                     BE IT FURTHER RESOLVED, that the Authorized Person of the Company be, and hereby
             is, authorized, empowered, and directed to take all such further actions in connection with the
             foregoing resolutions that are, in the Authorized Person’s business judgment, necessary, desirable,


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             proper, advisable, or reasonable to perform any of the Company’s obligations under or in
             connection with the DIP Financing Orders and the transactions contemplated therein.

                              Sale of Substantially All of the Company’s Asset to the Lenders

                     WHEREAS, the Board has determined that it is in the best interest of creditors, parties in
             interest and the estate that substantially all of the Company’s assets be sold free and clear of all
             liens, claims, interests and encumbrances pursuant to section 363 of the Bankruptcy Code (the
             “Sale”) and that the Company proceed with the execution of an asset purchase agreement with the
             Lenders as the Stalking Horse Bidder (the “Stalking Horse Agreement”), which Sale will be
             submitted for approval to the Bankruptcy Court subject to higher and better offers (the “Sale
             Motion”) for the purpose of obtain the entry of an order of the Bankruptcy Court approving the
             Sale (the “Sale Order”);

                    NOW, THEREFORE, BE IT RESOLVED, that the Authorized Person of the Company be,
             and hereby is, authorized, empowered, and directed to executed the Stalking Horse Agreement;
             and

                     BE IT FURTHER RESOLVED, that the Authorized Person of the Company be, and hereby
             is, authorized, empowered, and directed to take all such further actions in connection with the
             foregoing resolutions that are, in the Authorized Person’s business judgment, necessary, desirable,
             proper, advisable, or reasonable to perform any of the Company’s obligations under or in
             connection with the Stalking Horse Agreement, the Sale, the Sale Motion, the Sale Order and the
             transactions contemplated therein.

                                             Other Authorization and Ratification

                     BE IT FURTHER RESOLVED that the Authorized Person of the Company be, and hereby
             is, authorized, empowered, and directed, in the name of and on behalf of the Company, to take all
             actions with respect to the transactions contemplated by these Resolutions as such Authorized
             Person shall deem necessary, appropriate, or desirable in such Authorized Person’s reasonable
             business judgement as may be necessary, appropriate, or desirable to effectuate the purposes of
             the transactions contemplated in these Resolutions;

                     BE IT FURTHER RESOLVED that the Authorized Person of the Company be, and hereby
             is, authorized, empowered, and directed, in the name and on behalf of the Company, to cause such
             Company to enter into, execute, deliver, certify, file, and/or record and perform such agreements,
             instruments, motions, affidavits, applications for approvals or ruling of governmental or regulatory
             authorities, certificates, or other documents, and to take such other action, as in the judgment of
             such person shall be or become necessary, proper, and desirable to prosecute to a successful
             completion the Chapter 11 Case, including, but not limited to, implementing the foregoing
             Resolutions and the transactions contemplated by these Resolutions;

                     BE IT FURTHER RESOLVED that the Authorized Person of the Company be, and hereby
             is, authorized, empowered, and directed, in the name and on behalf of the Company, to amend,
             supplement, or otherwise modify from time to time the terms of any documents, certificates,
             instruments, agreements, or other writings referred to in the foregoing Resolutions;


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                     BE IT FURTHER RESOLVED that all acts, actions, and transactions relating to the
             matters contemplated by the foregoing Resolutions done in the name and on behalf of the
             Company, which acts would have been approved by the foregoing Resolutions except that such
             acts were taken before these Resolutions were certified, are hereby in all respects approved and
             ratified.

                                                                               14 day of August,
                       IN WITNESS WHEREOF, I have hereunto set my hand on this ___
             2023.



                                                                  __________________________
                                                                  Johann Fernando, CEO



                    The above is a true copy of the Minute of a Special Meeting held by the Board of
             Directors of the Company day and year stated above.



                                                                  __________________________
                                                                                    Secretary




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 Fill in this information to identify the case:

 Debtor name         Miku, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          August 14, 2023                         X /s/ Johann Fernando
                                                                       Signature of individual signing on behalf of debtor

                                                                       Johann Fernando
                                                                       Printed name

                                                                       CEO
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2022 Best Case, LLC - www bestcase.com                                                                          Best Case Bankruptcy
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 Fill in this information to identify the case:
 Debtor name Miku, Inc.
 United States Bankruptcy Court for the: DISTRICT OF NEW JERSEY                                                                                   Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Thundercomm IOT                                                                        Disputed                                                                      $1,413,297.22
 Technology Hong                 lingmin.li@thunder
 Kong Co.                        comm.com
 Room 1901
 19/F. Lee Garden
 One
 33 Hysan Avenue
 Causeway Bay
 Hong Kong
 Boston Children's                                                                                                                                                      $107,664.00
 Hospital                        tobias.loddenkemp
 Research Finance                er@childrens.harva
 Bank of America                 rd.edu
 P.O. Box 414413
 Boston, MA
 02241-4413
 Novelda/Xethro                                                                                                                                                           $87,000.00
 Novelda AS                      rob.sharpe@novel
 Gjerdrums vei 8                 da.com
 0484 Oslo Norway
 Gunderson Dettmer                                                                                                                                                        $86,464.40
 Stough Villeneuve               accounting@gunde
 Franklin &                      r.com
 Hachigian, LLP
 550 Allerton Street
 Redwood City, CA
 94063
 Robin                                                                                                                                                                    $60,320.00
 Bhattacharyya                   robin@mikucare.co
 9 Harmon Drive                  m
 Tinton Falls, NJ
 07724
 Input Logic Inc.                                                                                                                                                         $55,200.00
 10 Victoria Crescent            laura@inputlogic.c
 Nanaimo, Ontaro,                a
 Canada V94 5B9




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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Case 23-17005-CMG   Doc 1    Filed 08/14/23 Entered 08/14/23 17:51:50   Desc Main
                            Document     Page 12 of 89
Case 23-17005-CMG   Doc 1    Filed 08/14/23 Entered 08/14/23 17:51:50   Desc Main
                            Document     Page 13 of 89
            Case 23-17005-CMG                                      Doc 1           Filed 08/14/23 Entered 08/14/23 17:51:50                                                             Desc Main
                                                                                  Document     Page 14 of 89
 Fill in this information to identify the case:

 Debtor name            Miku, Inc.

 United States Bankruptcy Court for the:                       DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $        3,696,093.50

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $        3,696,093.50


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $        3,031,412.07


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$        2,068,604.67


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $          5,100,016.74




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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            Case 23-17005-CMG                          Doc 1          Filed 08/14/23 Entered 08/14/23 17:51:50                          Desc Main
                                                                     Document     Page 15 of 89
 Fill in this information to identify the case:

 Debtor name          Miku, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.     JP Morgan Bank                                         checking account                 9811                                  $19,172.00




            3.2.     Silicon Valley Bank                                    checking account                 5963                                    $1,974.00




            3.3.     Silicon Valley Bank                                    checking account                 7621                                        $793.59



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                    $21,939.59
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit


            7.1.     Security Deposits - See attached Rider - 1                                                                                    $36,029.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                              page 1
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            Case 23-17005-CMG                          Doc 1          Filed 08/14/23 Entered 08/14/23 17:51:50                         Desc Main
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 Debtor            Miku, Inc.                                                                         Case number (If known)
                   Name




 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


            8.1.     Prepayments- See attached Rider - 2                                                                                        $114,386.00




 9.         Total of Part 2.                                                                                                                $150,415.00
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable
            11a. 90 days old or less:                                25,442.91   -                                   0.00 = ....                 $25,442.91
                                              face amount                               doubtful or uncollect ble accounts




            11b. Over 90 days old:                              104,770.00       -                           49,795.00 =....                     $54,975.00
                                              face amount                               doubtful or uncollect ble accounts



 12.        Total of Part 3.                                                                                                                 $80,417.91
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:           Investments
13. Does the debtor own any investments?

       No. Go to Part 5.
       Yes Fill in the information below.

 Part 5:           Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

       No. Go to Part 6.
       Yes Fill in the information below.
            General description                       Date of the last               Net book value of         Valuation method used   Current value of
                                                      physical inventory             debtor's interest         for current value       debtor's interest
                                                                                     (Where available)

 19.        Raw materials

 20.        Work in progress

 21.        Finished goods, including goods held for resale
            Finished goods,
            including goods held for
            resale- See attached
            Rider - 4                                                                     $1,324,764.00                                       $1,324,764.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                          page 2
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           Case 23-17005-CMG                           Doc 1          Filed 08/14/23 Entered 08/14/23 17:51:50                  Desc Main
                                                                     Document     Page 17 of 89
 Debtor         Miku, Inc.                                                                       Case number (If known)
                Name

 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                        $1,324,764.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
            No
            Yes
 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                                         Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes
 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No. Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes Fill in the information below.
           General description                                                   Net book value of      Valuation method used   Current value of
                                                                                 debtor's interest      for current value       debtor's interest
                                                                                 (Where available)

 39.       Office furniture
           Office Furniture - See attached Rider - 4                                     $65,793.00                                       $65,793.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Office Equipment - See attached Rider - 4                                     $57,106.00                                       $57,106.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collect bles

 43.       Total of Part 7.                                                                                                             $122,899.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 3
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 Debtor         Miku, Inc.                                                                    Case number (If known)
                Name

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes Fill in the information below.
            General description                                               Net book value of      Valuation method used   Current value of
            Include year, make, model, and identification numbers             debtor's interest      for current value       debtor's interest
            (i.e., VIN, HIN, or N-number)                                     (Where available)

 47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)
            Demo units and machinery - See attached
            Rider - 5                                                                $949,707.00                                      $949,707.00




 51.        Total of Part 8.                                                                                                      $949,707.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes
 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
     Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.
     Yes Fill in the information below.
            General description                                               Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            See attached Rider - 5                                                 $1,045,951.00                                    $1,045,951.00



 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 4
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 Debtor         Miku, Inc.                                                                   Case number (If known)
                Name



 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                   $1,045,951.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
             No
             Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
             No
             Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 5
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 Debtor          Miku, Inc.                                                                                          Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $21,939.59

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $150,415.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                     $80,417.91

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                           $1,324,764.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $122,899.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $949,707.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                              $1,045,951.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                         $3,696,093.50            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $3,696,093.50




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 6
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            Case 23-17005-CMG                          Doc 1          Filed 08/14/23 Entered 08/14/23 17:51:50                               Desc Main
                                                                     Document     Page 21 of 89
 Fill in this information to identify the case:

 Debtor name          Miku, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
 2.1    W67, LLC                                      Describe debtor's property that is subject to a lien              $3,031,412.07                 Unknown
        Creditor's Name                               All assets of Miku, Inc.
        c/o Greenberg Traurig
        Attn. Jeffrey Wolf, Esq.
        One International Place,
        Suite 2000
        Boston, MA 02110
        Creditor's mailing address                    Describe the lien
                                                      UCC Financing Statement
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
        April 20, 2023                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.




                                                                                                                         $3,031,412.0
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                   7

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                              you enter the related creditor?    account number for
                                                                                                                                                 this entity




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 1
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            Case 23-17005-CMG                          Doc 1          Filed 08/14/23 Entered 08/14/23 17:51:50                                         Desc Main
                                                                     Document     Page 22 of 89
 Fill in this information to identify the case:

 Debtor name         Miku, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                                    Check if this is an
                                                                                                                                                       amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                       12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.

 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $4,781.00
           AMDX LLC                                                           Contingent
           159 20th Street                                                    Unliquidated
           3rd Floor 22                                                       Disputed
           Brooklyn, NY 11232
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                        $650.00
           Ashton Harmelink                                                   Contingent
           59 Westview Drive                                                  Unliquidated
           Milford, IA 51351                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $26,666.67
           Babylist Inc                                                       Contingent
           1625 Clay Street                                                   Unliquidated
           Suite 500                                                          Disputed
           Oakland, CA 94612
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $29,325.00
           Barnes & Thornburg LLP                                             Contingent
            11 South Meridian Street                                          Unliquidated
           Indianapolis, IN 46204-3535                                        Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                         page 1 of 7
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 Debtor       Miku, Inc.                                                                              Case number (if known)
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $267.50
          BDO Canada LLP - Wire                                               Contingent
          222 Bay Street                                                      Unliquidated
          Suite 2200, P.O. Box 131                                            Disputed
          Toronto, ON M5K 1H1 Canada
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $107,664.00
          Boston Children's Hospital
          Research Finance                                                    Contingent
          Bank of America                                                     Unliquidated
          P.O. Box 414413                                                     Disputed
          Boston, MA 02241-4413
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $33,650.00
          Brian Fallon Inc.                                                   Contingent
          17 Bristol Road                                                     Unliquidated
          Manalapan, NJ 07726                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,000.00
          Bridney Hergert                                                     Contingent
          1980 Crystal Beach Avenue                                           Unliquidated
          Shuniah, Ontario, Canada P7A8E2                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $113.76
          Commerce Technologies LLC                                           Contingent
          25736 Network Place                                                 Unliquidated
          Chicago, IL 60673                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,671.59
          Criteo                                                              Contingent
          387 Park Ave South                                                  Unliquidated
          12th Floor                                                          Disputed
          New York, NY 10016
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $40.37
          Drishti Lakhia                                                      Contingent
          2140 Creswell Drive                                                 Unliquidated
          Beavercreek, OH 45434                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 2 of 7
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 Debtor       Miku, Inc.                                                                              Case number (if known)
              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,453.46
          Fedex - ACH                                                         Contingent
          P.O. Box 7221                                                       Unliquidated
          Pasadena, CA 91109-7321                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,800.00
          GRIN Technologies, Inc.                                             Contingent
          400 Capitol Mall, FL 9                                              Unliquidated
          Sacramento, CA 95814                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $86,464.40
          Gunderson Dettmer Stough Villeneuve                                 Contingent
          Franklin & Hachigian, LLP                                           Unliquidated
          550 Allerton Street                                                 Disputed
          Redwood City, CA 94063
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $2.00
          ID.ME, Inc.                                                         Contingent
          8280 Greensboro Dr., Suite 800                                      Unliquidated
          Mc Lean, VA 22102                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Independent Investment Bankers, Corp.                               Contingent
          Attn: Dante Fichera
          2900 N. Quinlan Park Rd., Suite #240-235
                                                                              Unliquidated
          Austin, TX 78732                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $55,200.00
          Input Logic Inc.                                                    Contingent
          10 Victoria Crescent                                                Unliquidated
          Nanaimo, Ontaro, Canada V94 5B9                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,477.75
          Lamorte & Associates, P.C.                                          Contingent
          985 Reading Avenue                                                  Unliquidated
          P.O. Box 434                                                        Disputed
          Yardley, PA 19067
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 3 of 7
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 Debtor       Miku, Inc.                                                                              Case number (if known)
              Name

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,204.00
          Maslon LLP                                                          Contingent
          90 South 7th Street                                                 Unliquidated
          Suite 3300                                                          Disputed
          Minneapolis, MN 55402
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,250.00
          Meadow Lane Group Llc                                               Contingent
          13488 Maxella Avenue 316                                            Unliquidated
          Marina Del Rey, CA 90292                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,300.00
          Megan Le Bas                                                        Contingent
          3370 Tareco Drive                                                   Unliquidated
          Los Angeles, CA 90068                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $12,000.00
          Michael J Melli                                                     Contingent
          20 White Street                                                     Unliquidated
          Shrewsbury, NJ 07702                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,020.66
          Miller Barondess LLP                                                Contingent
          1999 Avenue of the Stars                                            Unliquidated
          Suite 1000                                                          Disputed
          Los Angeles, CA 90067
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $11,230.16
          Mutesix, LLC                                                        Contingent
          P.O. Box 22899                                                      Unliquidated
          New York, NY 10087-2898                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,308.00
          Narvar, Inc.                                                        Contingent
          3 E. Third Avenue, Suite 211                                        Unliquidated
          San Mateo, CA 94401                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Miku, Inc.                                                                              Case number (if known)
              Name

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $87,000.00
          Novelda/Xethro                                                      Contingent
          Novelda AS                                                          Unliquidated
          Gjerdrums vei 8                                                     Disputed
          0484 Oslo Norway
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Perseint LLC                                                        Contingent
          Attn: Ashish Jariwala
          4225 Executive Square, #600
                                                                              Unliquidated
          La Jolla, CA 92037                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,243.00
          Pi.Pe Gmbh                                                          Contingent
          Rheinsberger Strass 76/77                                           Unliquidated
          Berlin 10115 Germany                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,675.00
          Prism Fly, LLC                                                      Contingent
          621 North Robinson Avenue                                           Unliquidated
          Oklahoma City, OK 73102                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,424.19
          Province of British Columbia                                        Contingent
          PO Box 9412                                                         Unliquidated
          STN PROV GOFT                                                       Disputed
          Victoria, Ontario, Canada V8W 9V1
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,080.41
          Rakuten Marketing LLC                                               Contingent
          6985 Union Park Center                                              Unliquidated
          Suite 300                                                           Disputed
          Salt Lake City, UT 84047
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,320.00
          Robin Bhattacharyya                                                 Contingent
          9 Harmon Drive                                                      Unliquidated
          Tinton Falls, NJ 07724                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 5 of 7
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 Debtor       Miku, Inc.                                                                              Case number (if known)
              Name

 3.33      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.          $16,750.00
           Six Overground LLC                                                 Contingent
           59 Villanova Drive                                                 Unliquidated
           Freehold, NJ 07728                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.34      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.          $14,930.00
           Sophie Buechert                                                    Contingent
           1330 Factory Place                                                 Unliquidated
           Los Angeles, CA 90013                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.35      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $1,500.00
           The Bluebird Group LLC                                             Contingent
           81 South 9th Street                                                Unliquidated
           Suite 420                                                          Disputed
           Minneapolis, MN 55402
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.36      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.          $12,495.00
           The Last Layer                                                     Contingent
           1011 Beech Avenue                                                  Unliquidated
           Torrance, CA 90501                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.37      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.       $1,413,297.22
           Thundercomm IOT Technology Hong Kong
           Co.
           Room 1901                                                          Contingent
           19/F. Lee Garden One                                               Unliquidated
           33 Hysan Avenue Causeway Bay                                       Disputed
           Hong Kong
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.38      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.          $14,862.17
           Tinuiti Inc.                                                       Contingent
           P.O. Box 28415                                                     Unliquidated
           New York, NY 10087-8415                                            Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.39      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.          $26,487.36
           Woodbridge Office Tower, LLC                                       Contingent
           c/o Atlantic Realty Development Corp.
           90 Woodbridge Center Drive, Suite 600
                                                                              Unliquidated
           Woodbridge, NJ 07095                                               Disputed
           Date(s) debt was incurred                                         Basis for the claim:
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 6 of 7
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 Debtor       Miku, Inc.                                                                           Case number (if known)
              Name

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                               On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                  related creditor (if any) listed?                account number, if
                                                                                                                                                   any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                   Total of claim amounts
 5a. Total claims from Part 1                                                                        5a.       $                           0.00
 5b. Total claims from Part 2                                                                        5b.   +   $                   2,068,604.67

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                             5c.       $                      2,068,604.67




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 Fill in this information to identify the case:

 Debtor name         Miku, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.         State what the contract or                  Management Liability
              lease is for and the nature of              Package Policy
              the debtor's interest

                  State the term remaining                May 10, 2024
                                                                                      Allied World Specialty Insurance
              List the contract number of any                                         1690 New Britain Ave., Suite 101
                    government contract                                               Farmington, CT 06032


 2.2.         State what the contract or                  Cyber Policy
              lease is for and the nature of
              the debtor's interest

                  State the term remaining                June 21, 2024
                                                                                      Coalition Insurance Solutions, Inc.
              List the contract number of any                                         55 2nd St., Suite 2500
                    government contract                                               San Francisco, CA 94105


 2.3.         State what the contract or                  General Liability and
              lease is for and the nature of              Excess
              the debtor's interest

                  State the term remaining                May 21, 2024                Great American E&S Ins. Co.
                                                                                      P&C Legal
              List the contract number of any                                         301 East Fourth St.
                    government contract                                               Cincinnati, OH 45202-4269


 2.4.         State what the contract or                  Commercial Inland
              lease is for and the nature of              Marine insurance
              the debtor's interest

                  State the term remaining                January 7, 2024
                                                                                      Liberty Mutual Insurance Company
              List the contract number of any                                         175 Berkeley St., 6th Floor
                    government contract                                               Boston, MA 02116




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                            Page 1 of 2
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 Debtor 1 Miku, Inc.                                                                           Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.5.        State what the contract or                   Professional Liability
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                June 21, 2024
                                                                                       Palomar Excess and Surplus Ins. Co.
             List the contract number of any                                           7979 Ivanhoe
                   government contract                                                 La Jolla, CA 92037


 2.6.        State what the contract or                   Storage, warehousing,
             lease is for and the nature of               fulfillment, shipment,
             the debtor's interest                        etc.

                  State the term remaining                month to month - 90          Shipcalm LLC
                                                          day termination notice       Attn: General Counsel
             List the contract number of any                                           2882 Whiptail Loop E, Suite 150
                   government contract                                                 Carlsbad, CA 92010


 2.7.        State what the contract or                   Rent at $26.00 PSF,
             lease is for and the nature of               $10,636.17 Monthly
             the debtor's interest                        Base Rent plus
                                                          additional rent equal to
                                                          Proportionate Share
                                                          (2.34%) of all operating
                                                          costs exceeding the
                                                          Base Year of 2014.
                  State the term remaining                November 30, 2023            Woodbridge Office Tower, LLC
                                                                                       c/o Atlantic Realty Development Corp.
             List the contract number of any                                           90 Woodbridge Center Drive, Suite 600
                   government contract                                                 Woodbridge, NJ 07095




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Miku, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                       Name                       Check all schedules
                                                                                                                                that apply:
    2.1                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                      State      Zip Code


    2.2                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                      State      Zip Code


    2.3                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                      State      Zip Code


    2.4                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                      State      Zip Code




Official Form 206H                                                               Schedule H: Your Codebtors                                  Page 1 of 1
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Security Deposits

Woodbridge Office Tower
90 Woodbridge Center Drive Ste 600
Woodbridge NJ 07095
Deposit balance = $10,636.17

Dickinson Wright LLP
199 Bay Street Ste 2200
Toronto, Ontario Canada
M5L 1G4
Deposit balance = $392.99

Jackson Lewis PC
1133 Westchester Ave Ste S125
West Harrison NY 10604
Deposit balance = $5,000.00

Costco
999 Lake Drive NE
Issaquah, WA 98027-2030
Deposit balance = $15,000.00

Maslon LLP
3300 Wells Fargo Center
90 South 7th Street
Minneapolis MN 55402
Deposit balance = $5,000.00




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 Fill in this information to identify the case:

 Debtor name         Miku, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                       04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                    Operating a business                              $2,668,360.00
       From 1/01/2023 to Filing Date
                                                                                                Other


       For prior year:                                                                          Operating a business                              $9,360,945.00
       From 1/01/2022 to 12/31/2022
                                                                                                Other


       For year before that:                                                                    Operating a business                              $8,737,792.00
       From 1/01/2021 to 12/31/2021
                                                                                                Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




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       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               See Attached Rider - 1                                                                              $0.00          Secured debt
                                                                                                                                  Unsecured loan repayments
                                                                                                                                  Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                               Describe of the Property                                      Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    Ben Clardy, et al v. Miku, Inc.                   Class Action               Superior Ct. of CA, Cty of                 Pending
               23STCV15456                                       Compliant                  Los Angeles                                On appeal
                                                                 alleging Breach of
                                                                                                                                       Concluded
                                                                 Implied Warranty,
                                                                 Unfair
                                                                 Competition,
                                                                 Breach of
                                                                 Contract


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.




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 Debtor        Miku, Inc.                                                                                   Case number (if known)



       None

 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
                Recipient's name and address                     Description of the gifts or contributions                  Dates given                     Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss      Value of property
       how the loss occurred                                                                                                                                lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.
                 Who was paid or who received                        If not money, describe any property transferred           Dates            Total amount or
                 the transfer?                                                                                                                           value
                 Address
       11.1.     Duane Morris LLP
                 One Riverfront Plaza
                 1037 Raymond Blvd., Suite
                 1800                                                                                                          July 21,
                 Newark, NJ 07102-5429                                                                                         2023                 $75,000.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                   Dates transfers        Total amount or
                                                                                                                         were made                       value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

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       None.
               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

       No.
           Yes. State the nature of the information collected and retained.

                  Customer name and email addresses
                  Does the debtor have a privacy policy about that information?
                   No
                   Yes
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

       No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                     No Go to Part 10.
                     Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    401K                                                                                       EIN: XX-XXXXXXX

                    Has the plan been terminated?
                     No
                     Yes

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




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18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                   Last 4 digits of         Type of account or          Date account was           Last balance
                Address                                          account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                        Names of anyone with                Description of the contents          Does debtor
                                                                      access to it                                                             still have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                      Names of anyone with                Description of the contents          Does debtor
                                                                      access to it                                                             still have it?
       ShipCalm Carlsdad CA Warehouse                                 Debtor and ShipCalm                 Inventory                             No
       2882 Whiptall Loop E., #150                                                                                                              Yes
       Carlsbad, CA 92010

       ShipCalm Indiana Warehouse                                     Debtor and ShipCalm                 Inventory                             No
       8377 Camby Road                                                                                                                          Yes
       Plainfield, IN 46168



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or descr bes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

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 Debtor      Miku, Inc.                                                                                 Case number (if known)




           No.
       Yes. Provide details below.
       Case title                                                     Court or agency name and            Nature of the case                            Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
       Yes. Provide details below.
       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       KeptPro, LLC
                    600 B Street
                    Suite 300
                    San Diego, CA 92101

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
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       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
       Yes. Give the details about the two most recent inventories.
               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Jonathan D. Pollock Family                     c/o North Audley Street LLC                         Investor                              21%
       Trust                                          44 Skymeadow Drive
                                                      Stamford, CT 06903
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       W67 LLC                                        c/o North Audley Street LLC                         Investor                              32.2%
                                                      44 Skymeadown Drive
                                                      Stamford, CT 06903
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Eric White                                                                                         Director, Chief Product               8.43%
                                                                                                          Officer

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Johann Fernando                                                                                    Director, Chief Executive             5.89%
                                                                                                          Officer



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


       No
           Yes. Identify below.

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Thomas Tullie                                                                                      Chairman of the Board             5.98%


       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Colt Seman                                                                                         Chief Marketing Officer           4.9%


       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Tony Fu                                                                                            Chief Financial Officer



30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?
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           No
       Yes. Identify below.
               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
       Yes. Identify below.
    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
       Yes. Identify below.
    Name of the pension fund                                                                                   Employer Identification number of the pension
                                                                                                               fund




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 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         August 14, 2023

 /s/ Johann Fernando                                                    Johann Fernando
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         CEO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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Vendor                                                   Payment amount Process date
Cohn Reznick                                                      5,800.00 08/14/2023
Jessica Reyes                                                     1,050.00 08/14/2023
Pablo Gabilondo                                                   1,000.00 08/14/2023
Shipcalm LLC                                                    25,943.21 08/14/2023
IPFS Corporation of California                                    3,811.39 08/11/2023
Racha Consulting, LLC                                             5,187.50 08/11/2023
Colt Seman                                                        1,840.08 08/09/2023
Erika Green                                                         700.00 08/09/2023
IPFS Corporation of California                                    6,095.11 08/09/2023
Johl & Co                                                       16,168.00 08/09/2023
Megan Le Bas                                                        825.00 08/09/2023
Richard Hoffman Jr.                                                 295.00 08/09/2023
Robert Chichester ‐ EE                                              265.46 08/09/2023
Shipcalm LLC                                                   103,668.68 08/09/2023
Thomas Tullie                                                     2,559.10 08/09/2023
Fedex ‐ ACH                                                           9.20 08/08/2023
Fedex ‐ ACH                                                       1,295.27 08/08/2023
Fedex ‐ ACH                                                       1,504.39 08/08/2023
Fedex ‐ ACH                                                         778.20 08/08/2023
Fedex ‐ ACH                                                         338.69 08/08/2023
Fedex ‐ ACH                                                         428.45 08/08/2023
Fedex ‐ ACH                                                       2,357.45 08/08/2023
kept.pro, LLC                                                     1,687.50 08/08/2023
kept.pro, LLC                                                     1,687.50 08/07/2023
kept.pro, LLC                                                     7,897.00 08/02/2023
ID.ME, Inc.                                                           6.00 08/01/2023
Joel Rodriguez                                                       21.30 08/01/2023
Liberty Mutual Insurance                                          2,911.50 08/01/2023
Meadow Lane Group LLC                                             1,500.00 08/01/2023
Meadow Lane Group LLC                                             2,000.00 08/01/2023
Robert Chichester ‐ EE                                            2,402.10 08/01/2023
IPFS Corporation of California                                    3,811.39 07/31/2023
Singer Associates Inc.                                          19,845.00 07/31/2023
Racha Consulting, LLC                                             5,375.00 07/28/2023
Flexport International LLC ‐ Auto ACH                                 5.14 07/27/2023
Duane Morris LLP                                                75,000.00 07/21/2023
Richard Hoffman Jr.                                               7,579.00 07/21/2023
Shipcalm LLC                                                    12,268.43 07/21/2023
Shipcalm LLC                                                    12,268.43 07/21/2023
Tradeport USA, LLC                                              11,917.72 07/21/2023
Tradeport USA, LLC                                              11,917.72 07/21/2023
Barry Weinstein                                                   5,713.56 07/20/2023
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Vendor                                                   Payment amount Process date
Neal Nakra                                                      10,800.00 07/14/2023
Racha Consulting, LLC                                             4,075.00 07/14/2023
Smartsheet                                                        1,500.00 07/14/2023
Richard Hoffman Jr.                                               6,885.00 07/13/2023
Shipcalm LLC                                                    12,711.30 07/13/2023
Sophie Buechert                                                   2,337.00 07/13/2023
Flexport International LLC ‐ Auto ACH                             5,115.57 07/11/2023
RSP Inc.                                                            159.37 07/11/2023
Colt Seman                                                        1,840.08 07/07/2023
Aaryn Poche                                                         835.49 07/06/2023
Ad.net, Inc.                                                        486.80 07/06/2023
Arrow Electronics Inc                                                21.27 07/06/2023
Flexport International LLC ‐ Auto ACH                               500.00 07/06/2023
ID.ME, Inc.                                                          91.00 07/06/2023
IPFS Corporation of California                                    6,095.11 07/06/2023
Linsy Wade ‐ EE                                                   1,681.11 07/06/2023
Meadowlark Consulting Group                                       7,500.00 07/06/2023
Miller Barondess LLP                                              6,772.50 07/06/2023
Shipcalm LLC                                                    14,012.24 07/06/2023
The Bluebird Group LLC                                              750.00 07/06/2023
Flexport International LLC ‐ Auto ACH                               500.00 07/05/2023
Flexport International LLC ‐ Auto ACH                               500.00 07/05/2023
kept.pro, LLC                                                       862.50 07/05/2023
kept.pro, LLC                                                     7,897.00 07/05/2023
Toptal LLC ‐ Auto ACH                                           11,314.08 07/05/2023
Toptal LLC ‐ Auto ACH                                           11,314.08 07/05/2023
Fedex ‐ ACH                                                          16.88 07/03/2023
Fedex ‐ ACH                                                       6,312.26 07/03/2023
Fedex ‐ ACH                                                     10,376.51 07/03/2023
Fedex ‐ ACH                                                       4,710.24 07/03/2023
Fedex ‐ ACH                                                          28.89 07/03/2023
Fedex ‐ ACH                                                           9.20 07/03/2023
Fedex ‐ ACH                                                         248.98 07/03/2023
Fedex ‐ ACH                                                       4,051.85 07/03/2023
Fedex ‐ ACH                                                           9.20 07/03/2023
Racha Consulting, LLC                                             6,037.50 06/30/2023
Brian Fallon Inc.                                               16,400.00 06/28/2023
IPFS Corporation of California                                    3,811.39 06/28/2023
Jock Thompson EE ‐ WIRE                                           2,672.92 06/28/2023
Shipcalm LLC                                                         22.83 06/28/2023
Shipcalm LLC                                                    18,448.53 06/28/2023
Tradeport USA, LLC                                                4,495.01 06/28/2023
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Vendor                                                 Payment amount Process date
Persient LLC                                                  20,000.00 06/23/2023
Richard Hoffman Jr.                                             5,192.00 06/23/2023
Shipcalm LLC                                                  53,998.16 06/23/2023
The Krinsky Company                                           14,500.00 06/23/2023
Thundercomm IOT Technology Hong Kong Co.,Ltd. ‐ WIRE         100,000.00 06/23/2023
Thundercomm IOT Technology Hong Kong Co.,Ltd. ‐ WIRE         188,792.00 06/23/2023
Johl & Co                                                     18,936.74 06/20/2023
Toptal LLC ‐ Auto ACH                                         11,314.08 06/20/2023
Toptal LLC ‐ Auto ACH                                         11,314.08 06/20/2023
Alyssa Williams                                                   500.00 06/16/2023
Brian Fallon Inc.                                             14,900.00 06/16/2023
Bridney Hergert                                                 1,005.52 06/16/2023
Greenberg Traurig LLP                                         28,905.90 06/16/2023
Input Logic Inc. ‐ USD Bill                                     8,400.00 06/16/2023
Linsy Wade ‐ EE                                                 1,681.11 06/16/2023
Racha Consulting, LLC                                           9,375.00 06/16/2023
Richard Hoffman Jr.                                             2,764.00 06/16/2023
Shipcalm LLC                                                  53,177.34 06/16/2023
ZTA Consulting LLC                                              1,500.00 06/16/2023
Asia Quality Focus ‐ Wire                                         298.00 06/15/2023
Ad.net, Inc.                                                    1,626.39 06/07/2023
Alvin Fuentes                                                   1,359.78 06/07/2023
Colt Seman                                                      1,840.08 06/07/2023
Frances Gatta ‐ WIRE                                            2,500.00 06/07/2023
Growth Machine                                                  1,000.00 06/07/2023
Jaliya Davis                                                      500.00 06/07/2023
LMG Strategic Communications, LLC                                 750.00 06/07/2023
Megan Le Bas                                                      825.00 06/07/2023
Michaela Maffe                                                    950.00 06/07/2023
Miller Barondess LLP                                          20,767.50 06/07/2023
Shipcalm LLC                                                  71,960.55 06/07/2023
The Trapp Haus                                                    650.00 06/07/2023
kept.pro, LLC                                                   1,575.00 06/06/2023
kept.pro, LLC                                                   7,897.00 06/05/2023
Aaryn Poche                                                       835.49 06/01/2023
AMDX LLC                                                        5,062.48 06/01/2023
Flexport International LLC ‐ Auto ACH                             845.00 06/01/2023
ID.ME, Inc.                                                       102.00 06/01/2023
Megan Le Bas                                                    1,650.00 06/01/2023
Persient LLC                                                  20,000.00 06/01/2023
Prism Fly, LLC                                                  1,000.00 06/01/2023
Richard Hoffman Jr.                                             4,890.00 06/01/2023
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Vendor                                                  Payment amount Process date
The Last Layer                                                 10,050.00 06/01/2023
Tradeport USA, LLC                                               4,098.84 06/01/2023
Woodbridge Office Tower, L.L.C ‐ WIRE                          12,243.68 06/01/2023
Aliyev Elvin Eikhan Oglu ‐ WIRE                                  3,000.00 05/31/2023
BDO Canada LLP ‐ WIRE                                              202.62 05/31/2023
Fedex ‐ ACH                                                         13.24 05/31/2023
Fedex ‐ ACH                                                      1,638.09 05/31/2023
Fedex ‐ ACH                                                        239.27 05/31/2023
Fedex ‐ ACH                                                         48.94 05/31/2023
Fedex ‐ ACH                                                        256.88 05/31/2023
Fedex ‐ ACH                                                      2,598.98 05/31/2023
Fedex ‐ ACH                                                      1,444.50 05/31/2023
Fedex ‐ ACH                                                        133.81 05/31/2023
Fedex ‐ ACH                                                      1,585.00 05/31/2023
Nukk‐Freeman & Cerra, P.C.                                       1,995.00 05/31/2023
Jock Thompson EE ‐ WIRE                                          2,672.92 05/25/2023
Asharel Chastain                                                   500.00 05/24/2023
Christine Hogg                                                   1,960.00 05/24/2023
Effectual Inc                                                 102,023.09 05/24/2023
Elizabeth Zanin Flanagan                                            97.61 05/24/2023
Hyman, Phelps & McNamara                                         1,365.00 05/24/2023
Jaclyn Ganshirt                                                    194.24 05/24/2023
Kristin O'Toole                                                  2,300.00 05/24/2023
Lauren Meadows                                                   1,200.00 05/24/2023
Le Bas Films                                                       550.00 05/24/2023
LMG Strategic Communications, LLC                                6,500.00 05/24/2023
Megan Le Bas                                                     2,475.00 05/24/2023
Mishaela K. Mouchett                                               500.00 05/24/2023
Pelican Quality Advisory LLC                                     3,375.00 05/24/2023
Rakuten Marketing LLC                                            2,255.07 05/24/2023
Richard Hoffman Jr.                                              5,422.00 05/24/2023
Saira Steelman                                                   1,800.00 05/24/2023
Shipcalm LLC                                                   30,095.59 05/24/2023
Shipcalm LLC                                                   54,175.66 05/24/2023
TForce Worldwide Inc.                                            1,023.75 05/24/2023
Toptal LLC ‐ Auto ACH                                          11,314.08 05/24/2023
Toptal LLC ‐ Auto ACH                                          11,314.08 05/24/2023
Nukk‐Freeman & Cerra, P.C.                                     15,132.50 05/23/2023
Johl & Co                                                        4,065.60 05/19/2023
Johl & Co                                                      12,217.88 05/19/2023
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                                                               United States Bankruptcy Court
                                                                         District of New Jersey
 In re      Miku, Inc.                                                                                     Case No.
                                                                                  Debtor(s)                Chapter       11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities              Kind of Interest
 business of holder
 Aaryn Brittany Poche                                                               3,146



 Alanis Brianne Cheek                                                               565



 Alex Daro                                                                          400



 Alex Parisi                                                                        7,847



 Alex Pattis                                                                        418



 Alex Razzano                                                                       400



 Allon Yosha                                                                        334



 Andrew F. Marks                                                                    334



 Andrew Gallerstein                                                                 13,078



 Andrew Kamp                                                                        8,558



 Antonio Tambunan                                                                   3,802



 Anvar Bagiyev                                                                      10,698



 Ashley Coman                                                                       5,231



 Ashridge LTD                                                                       8,011




Sheet 1 of 11 in List of Equity Security Holders
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                                                                                   Debtor(s)



                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities   Kind of Interest
 business of holder

 Autumn Communications                                                              1,378



 Benjamin Levin                                                                     835



 Blair Cannon                                                                       1,521



 Bradlee Fuelling                                                                   563



 Brandon M. Spelke                                                                  509



 Brener International Group, LLC                                                    668



 Cambridge Way Ventures LLC                                                         978



 Cameron Alexander                                                                  3,913



 Chris Reis                                                                         21



 Christopher John Antonino                                                          439



 Colt Seman                                                                         261,567



 Daniel Gould                                                                       964



 Daniel L. Mayer                                                                    501



 Dave Abrams                                                                        1,003



 David Eason Smith                                                                  8,560



List of equity security holders consists of 11 total page(s)
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                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities   Kind of Interest
 business of holder

 David S. Nagelberg                                                                 16



 David S. Nagelberg 2003 Revocable Trust                                            1,486



 David Stanwell                                                                     9,511



 Donald Heitman                                                                     401



 Donovan Child                                                                      563



 Drew Figdor                                                                        4,527



 Eileen Robin Lilley MD                                                             4,272



 Emmett Partners Impact Fund I, L.P.                                                8,870



 Epilepsy Ventures Fund, LLC                                                        32,708



 Eric G. White                                                                      449,149



 Federico Guerrero-Reyes                                                            26,157



 Ferlise and Associates LLC Pension Plan                                            2,626



 FounderMark, Inc.                                                                  1,209



 HB Investments, LLC                                                                1,336



 Jack Huston                                                                        4,928



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                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities   Kind of Interest
 business of holder

 Jacqueline Winkelmann                                                              668



 James Ng                                                                           668



 Jamie McCourt                                                                      4,693



 Jared Hoellein                                                                     565



 Jenna L. Spelke                                                                    509



 Jennifer Gross                                                                     51



 Jennifer Gross 2010 Irrevocable Trust U/                                           4,966



 Jennifer Perez                                                                     2,574



 Jeremy Ferrell                                                                     13,942



 Jessica Aletta                                                                     5,352



 Johann Fernando                                                                    313,880



 John Cusumano                                                                      668



 John Peloquin                                                                      334



 Jonathan D. Pollock 2012 Family Trust da                                           1,119,778



 Jonathan Lewin                                                                     334



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                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities   Kind of Interest
 business of holder

 Jonathan Simhaee                                                                   167



 Joseph Aletta                                                                      10,939



 Joseph Hayo                                                                        1,670



 Kalyan Latchamsetty                                                                947



 Kaplan Family Trust                                                                2,003



 Kate McLamb                                                                        10



 Kenneth S. Ziman                                                                   3,299



 Kevin Degnan                                                                       7,010



 Kevin Quidor                                                                       5,231



 Kimberly Martin                                                                    563



 Klaus Rosburg                                                                      66



 Lance DeGroot                                                                      1,710



 Layla Kalin                                                                        5,873



 Linsy Wade                                                                         5,352



 Lisa Homampour                                                                     4,390



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                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities   Kind of Interest
 business of holder

 Logan Paul                                                                         1,336



 Lorenzo Francis Allas                                                              13,078



 Mark and Kathleen Bowles Family Trust                                              501



 Marla Seldes 2016 Trust                                                            3,338



 Marsha Weidman                                                                     501



 Matt Hayden                                                                        1,670



 Matthew DeZaio                                                                     52,313



 Max Keble-White                                                                    1,002



 Meagan Shan                                                                        40



 Michael George Antonino                                                            439



 Michael Horowitz                                                                   268



 Michael Segerman                                                                   855



 Michaelah Washington                                                               565



 Miguel Rojas                                                                       2,574



 Miku Investment Holdings LLC                                                       8,870



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                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities   Kind of Interest
 business of holder

 Mohsin Meghji                                                                      2,252



 Nathan Hall                                                                        13,078



 Neil Nakra                                                                         2,066



 Nijmeh Abed                                                                        2,574



 Noel Witcosky                                                                      13,078



 Octavia Spencer                                                                    27,137



 Pascal Guillot                                                                     8,558



 Paul Dupiano                                                                       5,068



 Phil Sarna                                                                         983



 Porter Gale                                                                        80



 Princeton Growth Accelerator                                                       668



 R.J. Chichester and Carol M. Chichester,                                           450



 Raz Winiarsky                                                                      1,612



 Richard Hoffman                                                                    1,250



 Rob Gries                                                                          10,698



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                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities   Kind of Interest
 business of holder

 Robert Chichester                                                                  25,706



 Robert Martinez                                                                    10,603



 Robert Mayer                                                                       8



 Ron Vianu                                                                          1,002



 Sam Weidman                                                                        501



 Schuster Tanger                                                                    334



 Scott Ashline                                                                      2,998



 Scott M. Kurtz                                                                     1,972



 Scott McDonald                                                                     400



 Scott S. Braun                                                                     334



 Seth Grossman                                                                      167



 Shahin Daneshuer                                                                   1,336



 Stable Road Capital LLC                                                            4,435



 Steven Horowitz                                                                    376



 Steven Izen                                                                        5,263



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                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities   Kind of Interest
 business of holder

 Strat VC Investor LLC                                                              1,336



 Susan Geers                                                                        565



 Tanzin Capital LLC                                                                 1,336



 Tarek Rahman                                                                       4,379



 Tassen Manzoor                                                                     26,156



 Tatiana Arana                                                                      565



 Terry B. Haahr                                                                     16



 Terry B. Haahr IRAT                                                                1,486



 The Elastyk Group LLC                                                              374



 The Ellen V Mayer Trust               Dtd 11/2/94                                  668



 The Ferrell Group                                                                  401



 The Grieco Family Trust, dated July 9, 2                                           2,583



 The Rosser Living Trust                                                            835



 Thomas and Judith Tullie Family Trust da                                           11,787



 Thomas Attonito                                                                    668



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                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities   Kind of Interest
 business of holder

 Thomas L. Tullie Generations Trust                                                 20,984



 Thomas Tullie                                                                      318,619



 Tina Kearns                                                                        13,078



 Tony Fu                                                                            52,313



 TQ Ventures LLC                                                                    5,844



 Transult, Inc.



 Trenton Robinson                                                                   565



 Triple R Ventures LLC                                                              5,341



 Vagmin Vora                                                                        167



 Vlad Moshe                                                                         168



 W67, LLC                                                                           1,715,845



 Woodbridge Holdings, Inc.                                                          175,276



 Yanir Hirshberg                                                                    29




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 In re:    Miku, Inc.                                                                                   Case No.
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                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities                        Kind of Interest
 business of holder
DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the CEO of the corporation named as the debtor in this case, declare under penalty of perjury that I have read the
foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date August 14, 2023                                                        Signature /s/ Johann Fernando
                                                                                           Johann Fernando

                       Penalty for making a false statement of concealing property Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




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Miku, Inc. Summary Cap Table
As of 08/10/2023 • Generated by Eric White (eric@mikucare.com) at 08/10/2023 02:41:38

                                                                         Shares Issued     Fully Diluted    Fully Diluted
                                                  Shares Authorized
                                                                       and Outstanding           Shares      Ownership
Common Stock classes
Common (CS) Stock                                          5,695,282             250,167        250,167          4.696%
Total Common Stock issued and outstanding                                                       250,167          4.696%


Preferred Stock classes
Series Seed Preferred (PS) Stock                                                                                  .000%
Series A-1 Preferred (PA1) Stock                                                                                  .000%
Series A-2 Preferred (PA2) Stock                                                                                  .000%
Junior Preferred Stock (PJ) Stock                            601,653             412,449        412,449          7.742%
Series B Preferred (PB) Stock                              3,078,566           2,718,768      2,718,768         51.031%
Total Preferred Stock issued and outstanding                                                  3,131,217         58.772%


Convertibles
CN Notes (CN)
A Notes (A)
Total Convertibles issued


2018 Stock Plan                                            1,954,101
RSAs not purchased                                                                                                .000%
Options and RSUs issued and outstanding                                                       1,624,550         30.492%
Shares available for issuance under the plan                                                    321,781          6.040%


Totals                                                                                        5,327,715         100.000%
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Miku, Inc. Intermediate Cap Table
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                                                                                                                                                                                                                                                                                  Options and
                                                                                             Series Seed                                   Series A 1                                  Series A 2                      Junior Preferred                    Series B Preferred
                                                                                                                                                                                                                                                                                        RSU's
                                                                       Series Seed         Preferred (PS)            Series A 1       Preferred (PA1)            Series A 2       Preferred (PA2)   Junior Preferred         Stock (PJ) Series B Preferred               (PB)                                                                Outstanding   Fully Diluted
Name                                            Common (CS)                                                                                                                                                                                                                       Outstanding    Outstanding Shares   Fully Diluted Shares
                                                                     Preferred (PS)       1:1 Conversion        Preferred (PA1)       1:1 Conversion        Preferred (PA2)       1:1 Conversion          Stock (PJ)    1:1 Conversion                (PB)    1:1 Conversion                                                                  Ownership     Ownership
                                                                                                                                                                                                                                                                              Under 2018 Stock
                                                                                                    Ratio                                       Ratio                                       Ratio                                 Ratio                                 Ratio
                                                                                                                                                                                                                                                                                          Plan
Alex Pattis                                               418                                                                                                                                                                                                                                                  418                    418         .012%          .008%
Antonio Tambunan                                         3 802                                                                                                                                                                                                                                                3 802                 3 802         .112%          .071%
Autumn Communications                                                                                                                                                                                           334                334              1 044             1 044                                   1 378                 1 378         .041%          .026%
Benjamin Levin                                            835                                                                                                                                                                                                                                                  835                    835         .025%          .016%
Blair Cannon                                                                                                                                                                                                    499                499              1,013             1,013                 9                 1,512                 1,521         .045%          .029%
Daniel Gould                                              954                                                                                                                                                                                                                              10                  954                    964         .028%          .018%
David Stanwell                                                                                                                                                                                                2,891              2,891              6,220             6,220               400                 9,111                 9,511         .269%          .179%
Eileen Robin Lilley MD                                                                                                                                                                                        1,002              1,002              3,270             3,270                                   4,272                 4,272         .126%          .080%
Emmett Partners Impact Fund I L.P.                       8 870                                                                                                                                                                                                                                                8 870                 8 870         .262%          .166%
Epilepsy Ventures Fund LLC                                                                                                                                                                                                                        32 708             32 708                                  32 708                32 708         .967%          .614%
Ferlise and Associates LLC Pension Plan                  2 626                                                                                                                                                                                                                                                2 626                 2 626         .078%          .049%
Jack Huston                                              4,477                                                                                                                                                                                                                            451                 4 477                 4 928         .132%          .092%
Jamie McCourt                                            4,645                                                                                                                                                                                                                             48                 4,645                 4,693         .137%          .088%
Jenn fer Gross 2010 Irrevocable Trust U/A dtd            4,966                                                                                                                                                                                                                                                4,966                 4,966         .147%          .093%
Jonathan D. Pollock 2012 Family Trust dated D                                                                                                                                                                70,094             70,094          1,049,684         1,049,684                               1,119,778             1,119,778       33.116%        21.018%
Joseph Aletta                                            1,748                                                                                                                                                                                                                          9,191                 1,748                10,939         .052%          .205%
Joseph Hayo                                              1 670                                                                                                                                                                                                                                                1 670                 1 670         .049%          .031%
Kalyan Latchamsetty                                       937                                                                                                                                                                                                                              10                  937                    947         .028%          .018%
Layla Kalin                                              5 873                                                                                                                                                                                                                                                5 873                 5 873         .174%          .110%
Lisa Homampour                                           4,390                                                                                                                                                                                                                                                4 390                 4 390         .130%          .082%
Mark and Kathleen Bowles Family Trust                     501                                                                                                                                                                                                                                                  501                    501         .015%          .009%
Marsha Weidman                                            501                                                                                                                                                                                                                                                  501                    501         .015%          .009%
Matt Hayden                                              1,670                                                                                                                                                                                                                                                1,670                 1,670         .049%          .031%
Michael Segerman                                          855                                                                                                                                                                                                                                                  855                    855         .025%          .016%
Miku Investment Holdings LLC                             8 870                                                                                                                                                                                                                                                8 870                 8 870         .262%          .166%
Octavia Spencer                                                                                                                                                                                               7 512              7 512            19 625             19 625                                  27 137                27 137         .803%          .509%
Phil Sarna                                                969                                                                                                                                                                                                                              14                  969                    983         .029%          .018%
Robert Martinez                                                                                                                                                                                               3 303              3 303              7 270             7 270                30                10 573                10 603         .313%          .199%
Sam Weidman                                               501                                                                                                                                                                                                                                                  501                    501         .015%          .009%
Scott Ash ine                                                                                                                                                                                                   984                984              1,999             1,999                15                 2,983                 2,998         .088%          .056%
Stable Road Capital LLC                                  4,435                                                                                                                                                                                                                                                4,435                 4,435         .131%          .083%
Steven Izen                                              5,263                                                                                                                                                                                                                                                5,263                 5,263         .156%          .099%
The Grieco Family Trust, dated July 9, 2008              2,583                                                                                                                                                                                                                                                2,583                 2,583         .076%          .048%
Thomas and Judith Tullie Family Trust dated O            2 116                                                                                                                                                9 671              9 671                                                                       11 787                11 787         .349%          .221%
Thomas L. Tu lie Generations Trust                                                                                                                                                                                                                20 984             20 984                                  20 984                20 984         .621%          .394%
Thomas Tullie                                                                                                                                                                                                                                                                         318 619                                     318 619         .000%         5.980%
TQ Ventures LLC                                          5,844                                                                                                                                                                                                                                                5 844                 5 844         .173%          .110%
W67, LLC                                                                                                                                                                                                    140,894            140,894          1,574,951         1,574,951                               1,715,845             1,715,845       50.744%        32.206%
Woodbridge Holdings, Inc.                                   11                                                                                                                                              175,265            175,265                                                                      175,276               175,276        5.184%         3.290%
Other common holders                                  169,837                                                                                                                                                                                                                       1,295,753               169,837             1,465,590        5.023%        27.509%
Options and RSU's issued and outstanding                                                                                                                                                                                                                                            1,624,550
Shares available for issuance under the plan                                                                                                                                                                                                                                          321,781                                     321 781                       6.040%
Fully diluted shares                                  250,167                                                                                                                                                                  412,449                            2,718,768         1,946,331                                   5,327,715                     100.000%
Fully diluted ownership                               4.696%                                       .000%                                       .000%                                       .000%                               7.742%                              51.031%           36.532%                                    100.000%
Total Shares outstanding                              250,167                                                                                                                                               412,449                             2,718,768                                                 3,381,384                            100.000%
Percentage outstanding                                 7.398%                .000%                                       .000%                                       .000%                                 12.198%                               80.404%                                                  100.000%
Price per share                                                  $            0.16    $             0.16    $            74.90    $            74.90    $            59.90    $            59.90    $         38.83    $         38.83   $           7.64   $          7.64
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                                                                                                                                               Options and
                                                                                    Junior Preferred                    Series B Preferred
                                                                                                                                                      RSU's
                                                                Junior Preferred          Stock (PJ) Series B Preferred               (PB)                                                                Outstanding   Fully Diluted
Name                                            Common (CS)                                                                                    Outstanding    Outstanding Shares   Fully Diluted Shares
                                                                      Stock (PJ)     1 1 Conversion                (PB)    1 1 Conversion                                                                  Ownership     Ownership
                                                                                                                                           Under 2018 Stock
                                                                                               Ratio                                 Ratio
                                                                                                                                                       Plan
Aaryn Brittany Poche                                                                                                                                  3,146                                      3,146          000%          .059%
Alanis Brianne Cheek                                                                                                                                   565                                         565          000%          .011%
Alex Daro                                                 400                                                                                                               400                    400          012%          .008%
Alex Parisi                                                                                                                                          7,847                                       7,847          000%          .147%
Alex Pattis                                               418                                                                                                               418                    418          012%          .008%
Alex Razzano                                              400                                                                                                               400                    400          012%          .008%
Allon Yosha                                               334                                                                                                               334                    334          010%          .006%
Andrew F. Marks                                                                                                                                        334                                         334          000%          .006%
Andrew Gallerstein                                                                                                                                  13,078                                      13,078          000%          .245%
Andrew Kamp                                               650                                                                                        7,908                  650                  8 558          019%          .161%
Antonio Tambunan                                        3,802                                                                                                              3,802                 3,802         .112%          .071%
Anvar Bagiyev                                             400                                                                                       10,298                  400                 10,698          012%          .201%
Ashley Coman                                                                                                                                         5,231                                       5,231          000%          .098%
Ashridge LTD                                            8,011                                                                                                              8,011                 8,011          237%          .150%
Autumn Communications                                                        334                334              1,044             1,044                                   1,378                 1,378          041%          .026%
Benjamin Levin                                            835                                                                                                               835                    835          025%          .016%
Blair Cannon                                                                 499                499              1,013             1,013                 9                 1,512                 1,521          045%          .029%
Bradlee Fuelling                                                                                                                                       563                                         563          000%          .011%
Brandon M. Spelke                                         505                                                                                            4                  505                    509          015%          .010%
Brener International Group, LLC                           668                                                                                                               668                    668          020%          .013%
Cambridge Way Ventures LLC                                978                                                                                                               978                    978          029%          .018%
Cameron Alexander                                                                                                                                    3,913                                       3,913          000%          .073%
Chris Reis                                                 21                                                                                                                21                     21          001%          .000%
Christopher John Antonino                                 439                                                                                                               439                    439          013%          .008%
Colt Seman                                             42,150                                                                                      219,417                42,150               261,567        1 247%         4.910%
Daniel Gould                                              954                                                                                           10                  954                    964          028%          .018%
Daniel L. Mayer                                           501                                                                                                               501                    501          015%          .009%
Dave Abrams                                             1,003                                                                                                              1,003                 1,003          030%          .019%
David Eason Smith                                         400                                                                                        8,160                  400                  8,560          012%          .161%
David S. Nagelberg                                                                                                                                      16                                          16          000%          .000%
David S. Nagelberg 2003 Revocable Trust                 1,486                                                                                                              1,486                 1,486          044%          .028%
David Stanwell                                                             2,891              2,891              6,220             6,220               400                 9 111                 9 511          269%          .179%
Donald Heitman                                            401                                                                                                               401                    401          012%          .008%
Donovan Child                                                                                                                                          563                                         563          000%          .011%
Drew Figdor                                             4,393                                                                                          134                 4 393                 4 527         .130%          .085%
Eileen Robin Lilley MD                                                     1,002              1,002              3,270             3,270                                   4,272                 4,272         .126%          .080%
Emmett Partners Impact Fund I, L.P.                     8,870                                                                                                              8,870                 8,870          262%          .166%
Epilepsy Ventures Fund, LLC                                                                                    32,708             32,708                                  32,708                32,708          967%          .614%
Eric G. White                                          59,001                                                                                      390,148                59,001               449,149        1.745%         8.430%
Federico Guerrero-Reyes                                   400                                                                                       25,757                  400                 26,157          012%          .491%
Ferlise and Associates LLC Pension Plan                 2,626                                                                                                              2,626                 2,626          078%          .049%
FounderMark, Inc.                                       1,209                                                                                                              1,209                 1,209          036%          .023%
Haahr RAT Terry B.                                      1 486                                                                                                              1 486                 1 486          044%          .028%
HB Investments, LLC                                     1,336                                                                                                              1,336                 1,336          040%          .025%
Jack Huston                                             4,477                                                                                          451                 4,477                 4,928         .132%          .092%
Jacqueline Winkelmann                                     668                                                                                                               668                    668          020%          .013%
James Ng                                                  668                                                                                                               668                    668          020%          .013%
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                                                                                                                                               Options and
                                                                                    Junior Preferred                    Series B Preferred
                                                                                                                                                      RSU's
                                                                Junior Preferred          Stock (PJ) Series B Preferred               (PB)                                                                Outstanding   Fully Diluted
Name                                            Common (CS)                                                                                    Outstanding    Outstanding Shares   Fully Diluted Shares
                                                                      Stock (PJ)     1 1 Conversion                (PB)    1 1 Conversion                                                                  Ownership     Ownership
                                                                                                                                           Under 2018 Stock
                                                                                               Ratio                                 Ratio
                                                                                                                                                       Plan
Jamie McCourt                                           4,645                                                                                            48                4,645                 4,693         .137%          .088%
Jared Hoellein                                                                                                                                         565                                         565          000%          .011%
Jenna L. Spelke                                           505                                                                                            4                  505                    509          015%          .010%
Jennifer Gross                                                                                                                                          51                                          51          000%          .001%
Jennifer Gross 2010 Irrevocable Trust U/A dtd           4,966                                                                                                              4,966                 4,966         .147%          .093%
Jennifer Perez                                                                                                                                       2,574                                       2,574          000%          .048%
Jeremy Ferrell                                                                                                                                      13,942                                      13,942          000%          .262%
Jessica Aletta                                                                                                                                       5,352                                       5 352          000%          .100%
Johann Fernando                                                                                                                                    313,880                                     313,880          000%         5.891%
John Cusumano                                             668                                                                                                               668                    668          020%          .013%
John Peloquin                                             334                                                                                                               334                    334          010%          .006%
Jonathan D. Pollock 2012 Family Trust dated                               70,094             70,094          1,049,684         1,049,684                               1,119,778             1,119,778       33.116%        21.018%
Jonathan Lewin                                            334                                                                                                               334                    334          010%          .006%
Jonathan Simhaee                                          167                                                                                                               167                    167          005%          .003%
Joseph Aletta                                           1,748                                                                                        9,191                 1,748                10,939          052%          .205%
Joseph Hayo                                             1,670                                                                                                              1,670                 1,670          049%          .031%
Kalyan Latchamsetty                                       937                                                                                           10                  937                    947          028%          .018%
Kaplan Family Trust                                     2,003                                                                                                              2,003                 2,003          059%          .038%
Kate McLamb                                                                                                                                             10                                          10          000%          .000%
Kenneth S. Ziman                                        3,252                                                                                           47                 3,252                 3,299          096%          .062%
Kevin Degnan                                                                                                                                         7,010                                       7,010          000%          .132%
Kevin Quidor                                                                                                                                         5,231                                       5 231          000%          .098%
Kimberly Martin                                                                                                                                        563                                         563          000%          .011%
Klaus Rosburg                                              66                                                                                                                66                     66          002%          .001%
Lance DeGroot                                             800                                                                                          910                  800                  1,710          024%          .032%
Layla Kalin                                             5,873                                                                                                              5,873                 5,873         .174%          .110%
Linsy Wade                                                                                                                                           5,352                                       5,352          000%          .100%
Lisa Homampour                                          4,390                                                                                                              4,390                 4,390         .130%          .082%
Logan Paul                                              1,336                                                                                                              1,336                 1,336          040%          .025%
Lorenzo Francis Allas                                     450                                                                                       12,628                  450                 13,078          013%          .245%
Mark and Kathleen Bowles Family Trust                     501                                                                                                               501                    501          015%          .009%
Marla Seldes 2016 Trust                                 3,338                                                                                                              3,338                 3,338          099%          .063%
Marsha Weidman                                            501                                                                                                               501                    501          015%          .009%
Matt Hayden                                             1,670                                                                                                              1,670                 1,670          049%          .031%
Matthew DeZaio                                            820                                                                                       51,493                  820                 52,313          024%          .982%
Max Keble-White                                         1,002                                                                                                              1 002                 1 002          030%          .019%
Meagan Shan                                                40                                                                                                                40                     40          001%          .001%
Michael George Antonino                                   439                                                                                                               439                    439          013%          .008%
Michael Horowitz                                          268                                                                                                               268                    268          008%          .005%
Michael Segerman                                          855                                                                                                               855                    855          025%          .016%
Michaelah Washington                                                                                                                                   565                                         565          000%          .011%
Miguel Rojas                                                                                                                                         2,574                                       2,574          000%          .048%
Miku Investment Holdings LLC                            8,870                                                                                                              8,870                 8,870          262%          .166%
Mohsin Meghji                                           2 229                                                                                           23                 2 229                 2 252          066%          .042%
Nathan Hall                                                                                                                                         13,078                                      13,078          000%          .245%
Neil Nakra                                                                                                                                           2,066                                       2,066          000%          .039%
Nijmeh Abed                                                14                                                                                        2,560                   14                  2,574          000%          .048%
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                                                                                                                                               Options and
                                                                                    Junior Preferred                    Series B Preferred
                                                                                                                                                      RSU's
                                                                Junior Preferred          Stock (PJ) Series B Preferred               (PB)                                                                Outstanding   Fully Diluted
Name                                            Common (CS)                                                                                    Outstanding    Outstanding Shares   Fully Diluted Shares
                                                                      Stock (PJ)     1 1 Conversion                (PB)    1 1 Conversion                                                                  Ownership     Ownership
                                                                                                                                           Under 2018 Stock
                                                                                               Ratio                                 Ratio
                                                                                                                                                       Plan
Noel Witcosky                                             400                                                                                        12,678                 400                 13,078          012%          .245%
Octavia Spencer                                                            7,512              7,512            19,625             19,625                                  27,137                27,137          803%          .509%
Pascal Guillot                                                                                                                                       8,558                                       8,558          000%          .161%
Paul Dupiano                                            5,068                                                                                                              5,068                 5,068         .150%          .095%
Phil Sarna                                                969                                                                                           14                  969                    983          029%          .018%
Porter Gale                                                80                                                                                                                80                     80          002%          .002%
Princeton Growth Accelerator                              668                                                                                                               668                    668          020%          .013%
R.J. Chichester and Carol M. Chichester Trus              450                                                                                                               450                    450          013%          .008%
Raz Winiarsky                                                                                                                                        1,612                                       1,612          000%          .030%
Richard Hoffman                                                                                                                                      1,250                                       1,250          000%          .023%
Rob Gries                                                 492                                                                                       10,206                  492                 10 698          015%          .201%
Robert Chichester                                         150                                                                                       25,556                  150                 25,706          004%          .482%
Robert Martinez                                                            3,303              3,303              7,270             7,270                30                10,573                10,603          313%          .199%
Robert Mayer                                                                                                                                             8                                           8          000%          .000%
Ron Vianu                                               1,002                                                                                                              1,002                 1,002          030%          .019%
Sam Weidman                                               501                                                                                                               501                    501          015%          .009%
Schuster Tanger                                                                                                                                        334                                         334          000%          .006%
Scott Ashline                                                                984                984              1,999             1,999                15                 2,983                 2,998          088%          .056%
Scott M. Kurtz                                          1 956                                                                                           16                 1 956                 1 972          058%          .037%
Scott McDonald                                            400                                                                                                               400                    400          012%          .008%
Scott S. Braun                                                                                                                                         334                                         334          000%          .006%
Seth Grossman                                             167                                                                                                               167                    167          005%          .003%
Shahin Daneshuer                                        1,336                                                                                                              1,336                 1,336          040%          .025%
Stable Road Capital LLC                                 4,435                                                                                                              4,435                 4,435         .131%          .083%
Steven Horowitz                                           372                                                                                            4                  372                    376          011%          .007%
Steven Izen                                             5,263                                                                                                              5,263                 5,263         .156%          .099%
Strat VC Investor LLC                                   1,336                                                                                                              1,336                 1,336          040%          .025%
Susan Geers                                                                                                                                            565                                         565          000%          .011%
Tanzin Capital LLC                                      1,336                                                                                                              1,336                 1,336          040%          .025%
Tarek Rahman                                                                                                                                         4,379                                       4,379          000%          .082%
Tassen Manzoor                                                                                                                                      26,156                                      26,156          000%          .491%
Tatiana Arana                                                                                                                                          565                                         565          000%          .011%
Terry B. Haahr                                                                                                                                          16                                          16          000%          .000%
The Elastyk Group LLC                                     374                                                                                                               374                    374          011%          .007%
The Ellen V Mayer Trust   Dtd 11/2/94                     668                                                                                                               668                    668          020%          .013%
The Ferrell Group                                         401                                                                                                               401                    401          012%          .008%
The Grieco Family Trust, dated July 9, 2008             2,583                                                                                                              2,583                 2,583          076%          .048%
The Rosser Living Trust                                   835                                                                                                               835                    835          025%          .016%
Thomas and Judith Tullie Family Trust dated O           2,116              9,671              9,671                                                                       11,787                11,787          349%          .221%
Thomas Attonito                                           668                                                                                                               668                    668          020%          .013%
Thomas L. Tullie Generations Trust                                                                             20,984             20,984                                  20,984                20,984          621%          .394%
Thomas Tullie                                                                                                                                      318,619                                     318,619          000%         5.980%
Tina Kearns                                                                                                                                         13,078                                      13,078          000%          .245%
Tony Fu                                                                                                                                             52 313                                      52 313          000%          .982%
TQ Ventures LLC                                         5,844                                                                                                              5,844                 5,844         .173%          .110%
Trenton Robinson                                                                                                                                       565                                         565          000%          .011%
Triple R Ventures LLC                                   5,341                                                                                                              5,341                 5,341         .158%          .100%
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                                                                                                                                               Options and
                                                                                    Junior Preferred                    Series B Preferred
                                                                                                                                                      RSU's
                                                                Junior Preferred          Stock (PJ) Series B Preferred               (PB)                                                                Outstanding   Fully Diluted
Name                                            Common (CS)                                                                                    Outstanding    Outstanding Shares   Fully Diluted Shares
                                                                      Stock (PJ)     1 1 Conversion                (PB)    1 1 Conversion                                                                  Ownership     Ownership
                                                                                                                                           Under 2018 Stock
                                                                                               Ratio                                 Ratio
                                                                                                                                                       Plan
Vagmin Vora                                               167                                                                                                               167                    167          005%          .003%
Vlad Moshe                                                168                                                                                                               168                    168          005%          .003%
W67, LLC                                                                 140,894            140,894          1,574,951         1,574,951                               1,715,845             1,715,845       50.744%        32.206%
Woodbridge Holdings, Inc.                                  11            175,265            175,265                                                                      175,276               175,276        5.184%         3.290%
Yanir Hirshberg                                            29                                                                                                                29                     29          001%          .001%
Options and RSU's issued and outstanding                                                                                                         1,624,550
Shares available for issuance under the plan                                                                                                       321,781                                     321,781                       6.040%
Fully diluted shares                                  250,167                               412,449                            2,718,768         1,946,331                                   5,327,715                    100.000%
Fully diluted ownership                               4.696%                                7.742%                              51.031%           36.532%                                    100.000%
Total Shares outstanding                              250,167            412,449                             2,718,768                                                 3,381,384                            100.000%
Percentage outstanding                                7.398%            12.198%                               80.404%                                                  100.000%
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                                                               United States Bankruptcy Court
                                                                         District of New Jersey
 In re      Miku, Inc.                                                                             Case No.
                                                                                    Debtor(s)      Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the CEO of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to the

best of my knowledge.




 Date:       August 14, 2023                                             /s/ Johann Fernando
                                                                         Johann Fernando/CEO
                                                                         Signer/Title




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                        Allied World Specialty Insurance
                        1690 New Britain Ave., Suite 101
                        Farmington, CT 06032


                        AMDX LLC
                        159 20th Street
                        3rd Floor 22
                        Brooklyn, NY 11232


                        Ashton Harmelink
                        59 Westview Drive
                        Milford, IA 51351


                        Babylist Inc
                        1625 Clay Street
                        Suite 500
                        Oakland, CA 94612


                        Barnes & Thornburg LLP
                         11 South Meridian Street
                        Indianapolis, IN 46204-3535


                        BDO Canada LLP - Wire
                        222 Bay Street
                        Suite 2200, P.O. Box 131
                        Toronto, ON M5K 1H1 Canada


                        Boston Children's Hospital
                        Research Finance
                         Bank of America
                         P.O. Box 414413
                        Boston, MA 02241-4413


                        Brian Fallon Inc.
                        17 Bristol Road
                        Manalapan, NJ 07726


                        Bridney Hergert
                        1980 Crystal Beach Avenue
                        Shuniah, Ontario, Canada P7A8E2


                        Coalition Insurance Solutions, Inc.
                        55 2nd St., Suite 2500
                        San Francisco, CA 94105
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                    Commerce Technologies LLC
                    25736 Network Place
                    Chicago, IL 60673


                    Criteo
                    387 Park Ave South
                    12th Floor
                    New York, NY 10016


                    Drishti Lakhia
                    2140 Creswell Drive
                    Beavercreek, OH 45434


                    Fedex - ACH
                    P.O. Box 7221
                    Pasadena, CA 91109-7321


                    Great American E&S Ins. Co.
                    P&C Legal
                    301 East Fourth St.
                    Cincinnati, OH 45202-4269


                    GRIN Technologies, Inc.
                    400 Capitol Mall, FL 9
                    Sacramento, CA 95814


                    Gunderson Dettmer Stough Villeneuve
                    Franklin & Hachigian, LLP
                    550 Allerton Street
                    Redwood City, CA 94063


                    ID.ME, Inc.
                    8280 Greensboro Dr., Suite 800
                    Mc Lean, VA 22102


                    Independent Investment Bankers, Corp.
                    Attn: Dante Fichera
                    2900 N. Quinlan Park Rd., Suite #240-235
                    Austin, TX 78732


                    Input Logic Inc.
                    10 Victoria Crescent
                    Nanaimo, Ontaro, Canada V94 5B9
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                    Lamorte & Associates, P.C.
                    985 Reading Avenue
                    P.O. Box 434
                    Yardley, PA 19067


                    Liberty Mutual Insurance Company
                    175 Berkeley St., 6th Floor
                    Boston, MA 02116


                    Maslon LLP
                    90 South 7th Street
                    Suite 3300
                    Minneapolis, MN 55402


                    Meadow Lane Group Llc
                    13488 Maxella Avenue 316
                    Marina Del Rey, CA 90292


                    Megan Le Bas
                    3370 Tareco Drive
                    Los Angeles, CA 90068


                    Michael J Melli
                    20 White Street
                    Shrewsbury, NJ 07702


                    Miller Barondess LLP
                    1999 Avenue of the Stars
                    Suite 1000
                    Los Angeles, CA 90067


                    Mutesix, LLC
                    P.O. Box 22899
                    New York, NY 10087-2898


                    Narvar, Inc.
                    3 E. Third Avenue, Suite 211
                    San Mateo, CA 94401


                    Novelda/Xethro
                    Novelda AS
                    Gjerdrums vei 8
                    0484 Oslo Norway
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                    Palomar Excess and Surplus Ins. Co.
                    7979 Ivanhoe
                    La Jolla, CA 92037


                    Perseint LLC
                    Attn: Ashish Jariwala
                    4225 Executive Square, #600
                    La Jolla, CA 92037


                    Pi.Pe Gmbh
                    Rheinsberger Strass 76/77
                    Berlin 10115 Germany


                    Prism Fly, LLC
                    621 North Robinson Avenue
                    Oklahoma City, OK 73102


                    Province of British Columbia
                    PO Box 9412
                     STN PROV GOFT
                    Victoria, Ontario, Canada V8W 9V1


                    Rakuten Marketing LLC
                    6985 Union Park Center
                    Suite 300
                    Salt Lake City, UT 84047


                    Robin Bhattacharyya
                    9 Harmon Drive
                    Tinton Falls, NJ 07724


                    Shipcalm LLC
                    Attn: General Counsel
                     2882 Whiptail Loop E, Suite 150
                    Carlsbad, CA 92010


                    Six Overground LLC
                    59 Villanova Drive
                    Freehold, NJ 07728


                    Sophie Buechert
                    1330 Factory Place
                    Los Angeles, CA 90013
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                    The Bluebird Group LLC
                    81 South 9th Street
                    Suite 420
                    Minneapolis, MN 55402


                    The Last Layer
                    1011 Beech Avenue
                    Torrance, CA 90501


                    Thundercomm IOT Technology Hong Kong Co.
                    Room 1901
                    19/F. Lee Garden One
                    33 Hysan Avenue Causeway Bay
                    Hong Kong


                    Tinuiti Inc.
                    P.O. Box 28415
                    New York, NY 10087-8415


                    W67, LLC
                    c/o Greenberg Traurig
                    Attn. Jeffrey Wolf, Esq.
                    One International Place, Suite 2000
                    Boston, MA 02110


                    Woodbridge Office Tower, LLC
                    c/o Atlantic Realty Development Corp.
                    90 Woodbridge Center Drive, Suite 600
                    Woodbridge, NJ 07095


                    Klaus Rosburg
           Case 23-17005-CMG                           Doc 1          Filed 08/14/23 Entered 08/14/23 17:51:50             Desc Main
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                                                               United States Bankruptcy Court
                                                                         District of New Jersey
 In re      Miku, Inc.                                                                                     Case No.
                                                                                    Debtor(s)              Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Miku, Inc. in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Jonathan D. Pollock 2012 Family Trust da

 W67, LLC




 None [Check if applicable]




 August 14, 2023                                                       /s/ Morris S. Bauer, Esq.
 Date                                                                  Morris S. Bauer, Esq.
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Miku, Inc.
                                                                       Duane Morris LLP
                                                                       One Riverfront Plaza
                                                                       1037 Raymond Blvd., Suite 1800
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